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11                         UNITED STATES DISTRICT COURT

12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,              No. SA CR 20-00146-DOC

14            Plaintiff,                    PROTECTIVE ORDER REGARDING
                                            DISCOVERY CONTAINING PERSONAL
15            v.                            IDENTIFYING INFORMATION, PRIVACY
                                            ACT INFORMATION, AND CONFIDENTIAL
16 JASON FONG,                              INFORMANT INFORMATION [12]

17            Defendant.

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20        The Court has read and considered the parties’ Stipulation for

21   a Protective Order Regarding Discovery Containing Personal

22   Identifying Information, Privacy Act Information, and Confidential

23   Informant Information, filed by the government and defendant JASON

24   FONG (“defendant”) in this matter, which this Court incorporates by

25   reference into this order, and FOR GOOD CAUSE SHOWN the Court hereby

26   FINDS AND ORDERS as follows:

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 1        1.   The government’s discovery in this case relates to

 2   defendant’s alleged crime, that is, a violation of 18 U.S.C.

 3   § 2339C(c) (Concealment of Terrorist Financing).

 4        2.   A protective order for the discovery is necessary so that

 5   the government can produce to the defense materials regarding

 6   confidential informants or cooperating witnesses who participated in

 7   the government’s investigation and who may testify at trial.

 8   Because these materials could be used to identify the confidential

 9   informants or cooperating witnesses, the Court finds that the

10   unauthorized dissemination or distribution of the materials may

11   compromise the ability of such persons to participate effectively in

12   future investigations in an undercover capacity and/or may expose

13   him/her to potential safety risks.

14        3.   A protective order for the discovery is also necessary so

15   that the government can produce to the defense materials containing

16   third parties’ PII.    The Court finds that disclosure of this

17   information without limitation risks the privacy and security of the

18   information’s legitimate owners.      Because the government has an

19   ongoing obligation to protect third parties’ PII, the government

20   cannot produce to defendant an unredacted set of discovery

21   containing this information without this Court entering the

22   Protective Order.    Moreover, PII makes up a significant part of the

23   discovery in this case and such information itself, in many

24   instances, has evidentiary value.         If the government were to attempt

25   to redact all this information in strict compliance with Federal

26   Rule of Criminal Procedure 49.1, the Central District of

27   California’s Local Rules regarding redaction, and the Privacy Policy

28   of the United States Judicial Conference, the defense would receive

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 1   a set of discovery that would be highly confusing and difficult to

 2   understand, and it would be challenging for defense counsel to

 3   adequately evaluate the case, provide advice to defendant, or

 4   prepare for trial.

 5        4.   An order is also necessary because the government intends

 6   to produce to the defense materials that may contain information

 7   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

 8   Information”).   The Court finds that, to the extent that these

 9   materials contain Privacy Act information, disclosure is authorized

10   pursuant to 5 U.S.C. § 552a(b)(11).

11        5.   The purpose of this Protective Order is therefore to

12   (a) allow the government to comply with its discovery obligations

13   while protecting this sensitive information from unauthorized

14   dissemination, and (b) provide the defense with sufficient

15   information to adequately represent defendant.

16        6.   Accordingly, the discovery that the government will

17   provide to defense counsel in the above-captioned case will be

18   subject to this Protective Order, as follows:

19             a.     As used herein, “CI Materials” includes any

20   information relating to a confidential informant’s or cooperating

21   witness’s prior history of cooperation with law enforcement, prior

22   criminal history, statements, or any other information that could be

23   used to identify a confidential informant or cooperating witness,

24   such as a name, image, address, date of birth, or unique personal

25   identification number, such as a Social Security number, driver’s

26   license number, account number, or telephone number.

27             b.     As used herein, “PII Materials” includes any

28   information that can be used to identify a person, including a name,

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 1   address, date of birth, Social Security number, driver’s license

 2   number, telephone number, account number, email address, or personal

 3   identification number.

 4              c.   “Confidential Information” refers to any document or

 5   information containing: CI Materials or PII Materials that the

 6   government produces to the defense pursuant to this Protective Order

 7   and any copies thereof.

 8              d.   “Defense Team” includes (1) defendant’s counsel of

 9   record (“defense counsel”); (2) other attorneys at defense counsel’s

10   law firm who may be consulted regarding case strategy in this case;

11   (3) defense investigators who are assisting defense counsel with

12   this case; (4) retained experts or potential experts; and

13   (5) paralegals, legal assistants, and other support staff to defense

14   counsel who are providing assistance on this case.         The Defense Team

15   does not include defendant, defendant’s family members, or any other

16   associates of defendant.

17              e.   The government is authorized to provide defense

18   counsel with Confidential Information marked with the following

19   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

20   ORDER.”   The government may put that legend on the digital medium

21   (such as DVD or hard drive) or simply label a digital folder on the

22   digital medium to cover the content of that digital folder.           The

23   government may also redact any PII contained in the production of

24   Confidential Information.

25              f.   If defendant objects to a designation that material

26   contains Confidential Information, the parties shall meet and

27   confer.   If the parties cannot reach an agreement regarding

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 1   defendant’s objection, defendant may apply to this Court to have the

 2   designation removed.

 3             g.    Defendant and the Defense Team shall use the

 4   Confidential Information solely to prepare for any pretrial motions,

 5   plea negotiations, trial, and sentencing hearing in this case, as

 6   well as any appellate and post-conviction proceedings.

 7             h.    The Defense Team shall not permit anyone other than

 8   the Defense Team to have possession of Confidential Information,

 9   including defendant, while outside the presence of the Defense Team.

10             i.    Notwithstanding the above, defendant may see and

11   review CI Materials only in the presence of defense counsel, and

12   defense counsel shall ensure that defendant is never left alone with

13   any CI Materials.    At the conclusion of any meeting with defendant

14   at which defendant is permitted to view CI Materials, defendant must

15   return any CI Materials to defense counsel, who shall take all such

16   materials with counsel.     Defendant may not take any CI Materials out

17   of the room in which defendant is meeting with defense counsel.              At

18   no time, under no circumstance, will any Confidential Information be

19   left in the possession, custody, or control of defendant, regardless

20   of defendant’s custody status.

21             j.    Defendant may review PII Materials only in the

22   presence of a member of the Defense Team, who shall ensure that

23   defendant is never left alone with any PII Materials.          At the

24   conclusion of any meeting with defendant at which defendant is

25   permitted to view PII Materials, defendant must return any PII

26   Materials to the Defense Team, and the member of the Defense Team

27   present shall take all such materials with him or her.          Defendant

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 1   may not take any PII Materials out of the room in which defendant is

 2   meeting with the Defense Team.

 3                k.   Defendant may see and review Confidential Information

 4   as permitted by this Protective Order, but defendant may not copy,

 5   keep, maintain, or otherwise possess any Confidential Information in

 6   this case at any time.     Defendant also may not write down or

 7   memorialize any data or information contained in the Confidential

 8   Information.

 9                l.   The Defense Team may review Confidential Information

10   with a witness or potential witness in this case, including

11   defendant.    Defense counsel must be present whenever any CI

12   Materials are being shown to a witness or potential witness.           A

13   member of the Defense Team must be present if PII Materials are

14   being shown to a witness or potential witness.         Before being shown

15   any portion of Confidential Information, however, any witness or

16   potential witness must be informed of, and agree in writing to be

17   bound by, the requirements of the Protective Order.         No member of

18   the Defense Team shall permit a witness or potential witness to

19   retain Confidential Information or any notes generated from

20   Confidential Information.

21                m.   The Defense Team shall maintain Confidential

22   Information safely and securely, and shall exercise reasonable care

23   in ensuring the confidentiality of those materials by (1) not

24   permitting anyone other than members of the Defense Team, defendant,

25   witnesses, and potential witnesses, as restricted above, to see

26   Confidential Information; (2) not divulging to anyone other than

27   members of the Defense Team, defendant, witnesses, and potential

28   witnesses, the contents of Confidential Information; and (3) not

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 1   permitting Confidential Information to be outside the Defense Team’s

 2   offices, homes, vehicles, or personal presence.         CI Materials shall

 3   not be left unattended in any vehicle.

 4             n.    To the extent that defendant, the Defense Team,

 5   witnesses, or potential witnesses create notes that contain, in

 6   whole or in part, Confidential Information, or to the extent that

 7   copies are made for authorized use by members of the Defense Team,

 8   such notes, copies, or reproductions become Confidential Information

 9   subject to the Protective Order and must be handled in accordance

10   with the terms of the Protective Order.

11             o.    The Defense Team shall use Confidential Information

12   only for the litigation of this matter and for no other purpose.

13   Litigation of this matter includes any appeal filed by defendant and

14   any motion filed by defendant pursuant to 28 U.S.C. § 2255.           In the

15   event that a party needs to file Confidential Information with the

16   Court or divulge the contents of Confidential Information in court

17   filings, the filing should be made under seal.         If the Court rejects

18   the request to file such information under seal, the party seeking

19   to file such information publicly shall provide advance written

20   notice to the other party to afford such party an opportunity to

21   object or otherwise respond to such intention.         If the other party

22   does not object to the proposed filing, the party seeking to file

23   such information shall redact any: CI Materials or PII Materials and

24   make all reasonable attempts to limit the divulging of: CI Materials

25   or PII Materials.

26             p.    Any Confidential Information inadvertently produced

27   in the course of discovery prior to entry of the Protective Order

28   shall be subject to the terms of this Protective Order.          If

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 1   Confidential Information was inadvertently produced prior to entry

 2   of the Protective Order without being marked “CONFIDENTIAL

 3   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

 4   shall reproduce the material with the correct designation and notify

 5   defense counsel of the error.      The Defense Team shall take immediate

 6   steps to destroy the unmarked material, including any copies.

 7             q.    If any Confidential Information contains both CI

 8   Materials and another category of Confidential Information, the

 9   information shall be handled in accordance with the CI Materials

10   provisions of this Protective Order.

11             r.    Confidential Information shall not be used by any

12   member of the defense team, in any way, in any other matter, absent

13   an order by this Court.     All materials designated subject to the

14   Protective Order maintained in the Defense Team’s files shall remain

15   subject to the Protective Order unless and until such order is

16   modified by this Court.     Within 30 days of the conclusion of

17   appellate and post-conviction proceedings, defense counsel shall

18   return CI Materials to the government or certify that such materials

19   have been destroyed.    Within 30 days of the conclusion of appellate

20   and post-conviction proceedings, defense counsel shall return all

21   PII Materials, certify that such materials have been destroyed, or

22   certify that such materials are being kept pursuant to the

23   California Business and Professions Code and the California Rules of

24   Professional Conduct.

25             s.    In the event that there is a substitution of counsel

26   prior to when such documents must be returned, new defense counsel

27   must be informed of, and agree in writing to be bound by, the

28   requirements of the Protective Order before defense counsel

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 1   transfers any Confidential Information to the new defense counsel.

 2   New defense counsel’s written agreement to be bound by the terms of

 3   the Protective Order must be returned to the Assistant U.S. Attorney

 4   assigned to the case.    New defense counsel then will become the

 5   Defense Team’s custodian of materials designated subject to the

 6   Protective Order and shall then become responsible, upon the

 7   conclusion of appellate and post-conviction proceedings, for:

 8   (1) returning to the government, certifying the destruction of, or

 9   retaining pursuant to the California Business and Professions Code

10   and the California Rules of Professional Conduct all PII Materials;

11   and (2) returning to the government or certifying the destruction of

12   all CI Materials.

13             t.    Defense counsel shall advise defendant and all

14   members of the Defense Team of their obligations under the

15   Protective Order and ensure their agreement to follow the Protective

16   Order, prior to providing defendant and members of the Defense Team

17   with access to any materials subject to the Protective Order.

18        IT IS SO ORDERED.

19
     October 9, 2020
20   DATE                                      HONORABLE DAVID O. CARTER
                                               UNITED STATES DISTRICT JUDGE
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22   Presented by:
23
      /s/
24   MARK TAKLA
     Assistant United States Attorney
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